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WV DOMESTIC VIOLENCE RELATED DEATHS
OCTOBER 1, 2017—SEPTEMBER 30, 2018


WEST VIRGINIA COALITION AGAINST DOMESTIC VIOLENCE




                                                   Thomas Decl., Ex. 4
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        2018 WV DOMESTIC VIOLENCE RELATED DEATHS




An estimated 34 Domestic Violence related deaths
occurred in West Virginia for the period of October 1,
2017 – September 30, 2018.

The worst result of domestic violence is the loss of life. This report
provides information related to domestic violence related homicides,
suicides, and deaths by legal interventions for the period of October 1,
2017 – September 30, 2018.
This brief accounting in no way represents the total number of domestic
violence related deaths in West Virginia and accounts for adults (18 years
or older). Data gathered came from media outlets and information
provided by licensed domestic violence programs.
The risk of lethality increases with several risk factors, including separation
or an attempt to end the relationship, threats to kill, access to weapons,
stalking, forced sex, strangulation during an assault, controlling, possessive,
jealous behavior, and escalation of violence. Children not in common in
the household, substance abuse, and unemployment are also factors in the
risk of lethality.




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This report depicts the type of relationship that the perpetrator had with the
homicide victim(s). The diagram below does not include domestic violence
suicides and legal intervention from law enforcement officers.


                   Perpetrator Relationship to Homicide Victim
 12




 10




  8




  6




  4




  2




  0




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          2018 WV DOMESTIC VIOLENCE RELATED DEATHS




  This report reviews the sex of the perpetrators and victims. Male perpetrators
  were responsible for 17 (65%) domestic violence homicides.




            Sex of Perpetrators                    Sex of Victims

  18
                                           16

  16
                                           14

  14
                                           12

  12
                                           10
  10
                                            8
   8
                                            6
   6

                                            4
   4

                                            2
   2


   0                                        0
       Female   Male                            Female   Male
                                                                Thomas Decl., Ex. 4
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                2018 WV DOMESTIC VIOLENCE RELATED DEATHS




Firearm deaths (11) accounted for
42% of all of the domestic violence
homicides.

       Means of Death-                 Means of Death by Suicide
         Homicide                      Of the 34 domestic violence related
                                       deaths, 6 were perpetrator suicides.

    Stabbing              6
      Arson       1
     Neglect      1                    Means of Death by Legal
Strangulation     1
                                       Intervention
    Vechicle      1
     Firearm                  11
                                       Of the 34 domestic violence related
      Beaten          4
                                       deaths, two perpetrators died by law
                                       enforcement officer intervention.



          Age of Victim
          31 years old was the average
          age of victims.




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         2018 WV DOMESTIC VIOLENCE RELATED DEATHS




      Domestic Violence Related Deaths by County
Of the 55 counties in West Virginia, 21 counties reported domestic violence
related deaths. The counties below had a highest rates (2 per county).


                       Domestic Violence Deaths by County
2.5




  2




1.5




  1




0.5




  0
         Clay     Cabell   Randolph   Mercer   Ohio     Morgan   Kanwaha   Nicholas


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                2018 WV DOMESTIC VIOLENCE RELATED DEATHS



   Clay County - Samuel Lanham shot and killed his father's girlfriend, Jody Thomas. Law enforcement officers then shot
    and killed Samuel Lanham after he threatened them a gun at them.
   Monroe County – Michael White shot and killed his girlfriend, Leslie McFall.
   Cabell County - Jessica Gordon shot and killed her husband, Christopher Gordon.
   Cabell County - Jennifer Via stabbed her husband, Thomas Via, to death.
   Lincoln County - Edward Jeffers stabbed his wife, Stephanie Jeffers, to death.
   Randolph County - Law enforcement officials shot and killed Spencer Crumbley after he threatened to kill multiple
    family members then threatened to have a shootout with the police.
   Mercer County - Roger Lemons, Jr. strangled his girlfriend, Angela Seal to death.
   McDowell County - Charles Kennedy shot and killed his girlfriend, Emily Hatfield.
   Marion County - Donald Carpenter shot and killed his wife, Trina Carpenter.
   Randolph County - Ricky Cooper shot and killed his girlfriend, Savanah Bays, then shot and killed himself.
   Harrison County - Melissa McAtee shot and killed her boyfriend, David Cottrill.
   Wood County - James C. Hendershot beat his father, James T. Hendershot, to death.
   Ohio County - Brian Calabrese shot and killed his ex-girlfriend's father, Kenneth Bernier. Brian Calabrese then shot
    and killed himself.
   Morgan County - Patricia Brooks burned down her home killing her husband, Carroll Brooks, and son, Carl Brooks,
    inside. Patricia then committed suicide.
   Ritchie County - Alan Ross stabbed his stepfather, James Thompson, to death.
   Mercer County - Roena Mills beat and decapitated her boyfriend's son, Bo White.
   Preston County - Joseph Harrison stabbed his estranged wife, Kimberly Harrison, to death.
   Clay County - Joshua Robertson shot and stabbed his father, Milton Robertson, to death.
   Doddridge County - Richard Bernard shot and killed his wife, Lisa Barnard then shot and killed himself.
   Kanawha County - Lisa Dunlap neglected her mother, Norma Dunlap, which caused her death.
   Kanawha County - Amanda Belcher stabbed her husband, James Belcher, to death.
   Ohio County - Branden Ensminger beat his girlfriend, Rayna Vaughan, to death.
   Mason County - Bunky Cline ran over her boyfriend, Carl Hooton, with her vehicle multiple times kiling him.
   Berkeley County - William Franklin Jr. stabbed his girlfriend, Melissa Lindamood to death.
   Grant County - Steven Smith shot himself to death during a police pursuit after abducting his estranged wife.
   Putnam County - Russel Lewis and his minor son beat Timothy Pierson to death.
   Nicholas County - Vonly York shot and killed his son-in-law. Vonly then shot and killed himself.
                                                                                     Thomas Decl., Ex. 4
